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            EXHIBIT A
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                                                                                        d EFILED IN OFFICE
                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                          21-A-1846
                         IN THE STATE COURT OF COBB COUNTY                          M AY 24, 2021 05:33 PM
                                     STATE OF GEORGIA
                                                                                                    ca.49.0
                                                                                           Robin C. 8ishop, Clerk State Court
                                                                                                         Cobb County, Georgia

 LOIS MARSHALL,
                        Plaintiff,

 VS.                                                         Civil Action File Number

 GEORGIA CVS PHARMACY,L.L.C.;
 GEORGIA CVS PHARMACY,LLC
 D/B/A CVS PHARMACY #6106; CVS
                                                            JURY TRIAL DEMANDED
 PHARMACY,INC.; ABC COMPANY 1-
 5; JANE DOE 1-5;
                  Defendants.

                                          COMPLAINT

        COMES NOW,Plaintiff, LOIS MARSHALL,(hereinafter referred to as "Plaintiff"), and

files this, her Complaint and in support thereof shows the Court the following:

                                                  1.
       Plaintiff shows that Defendant GEORGIA CVS PHARMACY, L.L.C. ("CVS") is a

domestic limited liability company formed in Georgia with its principal office located in

Woonsocket, Rhode Island and its registered agent in Lawrenceville, Georgia and doing business

in the County of Cobb, State of Georgia, where the causes of action described hereinafter arose,

and is therefore subject to the jurisdiction of this Court and venue is proper.

                                                 2.

       Plaintiff shows that Defendant GEORGIA CVS PHARMACY, LLC d/b/a CVS

PHARMACY #6106("CVS #6106") is a variation of Defendant CVS and is therefore subject to

the jurisdiction of this Court and venue is proper.




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                                                  3.

       Plaintiff shows that Defendant CVS PHARMACY, INC. ("CVS, INC.") is a foreign

corporation with its principal office located in Woonsocket, Rhode Island and its registered agent

in Lawrenceville, Georgia and doing business in the County of Cobb, State of Georgia, where the

causes ofaction described hereinafter arose, and is therefore subject to the jurisdiction ofthis Court

and venue is proper.

                                                 4.

       Plaintiff shows that Defendants ABC COMPANY 1-5 ("Companies") are as-yet-

unidentified business entities doing business in the County of Cobb,State of Georgia, are therefore

subject to the jurisdiction of this Court and venue is proper.

                                                 5.

       Plaintiff shows that Defendants JANE DOE 1-5 ("Unidentified Individuals") are as-yet-

unidentified individuals subject to the jurisdiction of this Court and venue is proper.

                                   STATEMENT OF FACTS

                                                 6.

       Plaintiff received two full doses ofthe Moderna vaccine for COVID-19, with the first dose

being administered to her on January 29, 2021 and the second on March 5, 2021 (See Vaccination

Card at Exhibit "A").

                                                 7.

       Plaintiff made an appointment for a COVID rapid test at CVS Pharmacy 6106 located at

100 E. Piedmont Road, Marietta, Georgia for 9:00 a.m. on April 26, 2021 (See Text Messages

from CVS to Plaintiff at Exhibit "B"). Plaintiff had no symptoms, but needed a negative test result

so that she could go on her upcoming international trip to Aruba without being quarantined.


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                                                    8.

           Plaintiff arrived at CVS #6106 at approximately 9:00 a.m. and underwent the COVID-19

test process, with the collection being done at 9:14 a.m.. Plaintiff was told to wait in her car for

approximately 15 minutes, at which time she would be called into the store to receive her test

results.

                                                    9.

           After waiting over an hour and receiving no call, Plaintiff went back into the store, wearing

her mask, to use the restroom and inquire about her test results. Immediately after entering the

restroom, Plaintiff heard shouting outside in the store, saying "She's not supposed to be in here!

She has the virus!" Without using the facilities, Plaintiff quickly left the restroom and found the

nurse practitioner (hereinafter "NP") yelling at the receptionist of the Minute Clinic within the

store. Plaintiff asked if they were talking about her, and NP responded affirmatively, shouting

"You have COVID-19! You can't be in here!" Plaintiff stated that she had just entered the store

to use the restroom and that it must be a false positive because she had been fully vaccinated and

she tested negative right before receiving the vaccination, so Plaintiff suggested that she be re-

tested. NP responded that there is no such thing as a false positive and that Plaintiff must leave

and use the restroom at the gas station down the street. NP threatened to call the police if Plaintiff

did not leave, and she escorted Plaintiff out of the store while shouting that she had COVID-19 so

that everyone in the store could hear.

                                                    10.

       Plaintiff was publicly humiliated by NP screaming out her test results in the store so that

everyone else could hear and identify her as a carrier of the virus. Plaintiff then had to walk a




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gauntlet through other shoppers to leave the store. And she had to do this while she was also

extremely distraught at possibly having COVID-19, despite being fully vaccinated.

                                                    1 1.

       Plaintiff did not receive her test results from the CVS Minute Clinic until 10:31 a.m., over

an hour and a half after the test was administered (See Texts from CVS at Exhibit "B").

                                                    12.

       The test results Plaintiffreceived from CVS did show a positive result, but clearly indicated

that a false positive result was possible with this test(See CVS Test Results at Exhibit "C").

                                                    13.

       Later on the same day, Plaintiff went to another facility located at Peachtree Immediate

Care for another COVID-19 test, because her upcoming international trip required a negative

COVID-19 test result. The test results Plaintiff received this facility were negative (See Test

Results at Exhibit "D").

                                                   14.

       Plaintiff flew to Aruba without incident and, while there, got tested twice for COVID-19,

once when she arrived and another three days later right before she left, and the test results were

negative again (See Aruba Test Results at Exhibits "E-1" and "E-2").

                                                   15.

       While in Aruba, Plaintiff received a call from Cobb County Health Department(see

phone records at Exhibit "F")telling her that they had received notification from CVS that she

had COVID-19 and she had to quarantine upon her return to the United States. The Health

Department told Plaintiff that she had been registered in the national database as a carrier ofthe

virus. Plaintiff explained that she had multiple negative COVID-19 tests.since the positive test


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administered at CVS #6106, that the CVS result must have been a false positive, and that she did

not, in fact, have COVID-19. Due to this call, Plaintiff took her second COVID-19 test in Aruba

before leaving and suffered severe anxiety at the possibility of being quarantined and fear ofthe

result of being registered as.a COVID carrier in a national database. Plaintiff never gave

permission to CVS to disseminate her test results or any other health information about herself,

whether to a government agency or to other shoppers within the CVS store.

                                                  16.

       Plaintiff reviewed her test results and patient instructions from CVS and noticed that they

showed a positive result was reached at 9:00a.m. on April 26, 2021, fourteen minutes BEFORE

the COVID-19 test was actually performed, if it was, in fact, ever completed at all(See Patient

Instructions at Exhibit "G"). Based on this information, Plaintiff reasonably concludes that CVS,

or its employees, had pre-determined that she would receive a positive result on her COVID-19

test before she even arrived at the store to take the test.

                                       CAUSES OF ACTION •

         COUNT I: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                                  17.

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                  18.

       Plaintiff shows that she suffered intense emotional distress and humiliation from

Defendant's employee (the Nurse Practitioner, or "NP") shouting out that she had COVID-19 in

the middle of a busy retail store full of shoppers. The NP further exacerbated Plaintiff's extreme

distress by falsely claiming that there was no possibility of a false positive result in this particular


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type of COVlD-19 test. NP knew or should have known that her actions would inflict severe

emotional distress upon Plaintiff, therefore making her actions intentional under the law.

                                                 19.

        Additionally, NP's refusal to administer another test to confirm or refute the results ofthe

first test further distressed Plaintiff, who was then forced to find another facility to perform a

second test in order to have any chance of traveling on the tickets she had already purchased.

Furthermore, Plaintiffexperienced great anxiety during her trip, fearing that she would be required

to quarantine at the U.S. Embassy or at the airport upon her return to the United States. Her anxiety

was so intense that she spent hours getting re-tested twice in Aruba and worrying to such an extent

that her vacation was ruined.

                                                 20.

       Plaintiff shows that both NP, whose identity is currently unknown but will be established

through discovery, and all other named Defendants, are liable to Plaintiff for intentionally

inflicting emotional distress upon her, whether directly or through principles of vicarious liability,

including, but not limited to, respondeat superior, negligent hiring, and insufficient training.

          COUNT II: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

                                                 21.

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                 22.

       The Nurse Practitioner's infliction of emotional distress upon Plaintiff was clearly

negligent. Her shouting Plaintiff's test results out so that everyone in the store could hear them

would foreseeably inflict intense emotional distress upon Plaintiff. NP's false assertion that there


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was no possibility of a false positive result in this particular type of COVID-19 test also

demonstrates her negligence and possible lack of training and education. For Defendants to put

someone so grossly incompetent in such a position demonstrates their negligence as well.

                                                 23.

       Therefore, both NP and all other named Defendants are liable to Plaintiff for negligently

inflicting emotional distress upon her, whether directly or through principles of vicarious liability,

including, but not limited to, respondeat superior, negligent hiring, and insufficient training.

                                     COUNT III: SLANDER

                                                 24.

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                 25.

       Defendants, by and through their employee(s) by principles of vicarious liability cited

hereinabove, committed slander against Plaintiff as defined by 0.C.G.A. § 51-5-4(a)(2) by

"Charging a person with having some contagious disorder...which may exclude him from

society." Defendants, through their employee, loudly and publicly charged Plaintiff with having

COVID-19 and ordered her to leave the store and quarantine herself, thereby excluding her from

society. Under 0.C.G.A. § 51-5-4(b), damages can be inferred as a result of this conduct and

Plaintiff need not show any special damages to prevail.

                                       COUNT IV: LIBEL

                                                 26.

               Plaintiff incorporates herein by reference each of the allegations contained in the

preceding paragraphs as fully as though set forth verbatim herein.


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                                                 27.

       Defendants, by and through their employee(s) by principles of vicarious liability cited

hereinabove, additionally committed libel against Plaintiff as defined by 0.C.G.A. § 51-5-1(a) by

falsely and maliciously defaming her in writing in a manner "tending to injure the reputation of

the person and exposing him to public hatred, contempt, or ridicule." Defendants reported false

information regarding Plaintiff to the Cobb County Health Department, resulting in unwanted,

unnecessary and injurious communications from state agencies with police power to enforce

quarantine upon Plaintiff Defendants' obligation to report test results to state agencies is no

excuse for their actions here, as their obligation is to report ACCURATE results and Defendants

were negligent in meeting this obligation by claiming false positives were impossible and refusing

to perform a second test.

          COUNT V: UNAUTHORIZED PUBLICATION OF PRIVATE FACTS

                                                 28.

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                 29.

       The elements of a publication of private facts claim are: (i) the disclosure of private facts

must be a public disclosure;(ii)the facts disclosed to the public must be private, secluded, or secret

facts and not public facts; and (iii) the matter made public must be offensive and objectionable to

a reasonable person of ordinary sensibilities under the circumstances. See Multimedia WMAZ v.

Kubach,443 S.E.2d 491 (Ga.Ct.App. 1994).




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                                                 30.

       Here, Defendants, by and through their employee(s) by principles of vicarious liability

cited hereinabove, publicly disclosed the (incorrect)fact that Plaintiff had COVID-19 to everyone

in the store at that time and clearly identified Plaintiff as the person who allegedly had this virus.

Plaintiffs test results are private health information (PHI), as defined by the Health Insurance

Portability and Accountability Act of 1996(HIPAA), therefore the fact disclosed here is clearly

private and not public. Finally, the matter made public is, as in Kubach, extremely offensive and

objectionable due to the reaction people had to Plaintiff as a possible carrier of the virus. People

shunned her and ran from her as if she was a leper in ancient times, thereby indicating the

offensiveness of the disclosure.

                        COUNT VI: VIOLATION OF CIVIL RIGHTS

                                                 31.

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                 32.

       By informing the entire store of Plaintiffs test results, Defendants, by and through their

employee(s) by principles of vicarious liability cited hereinabove, violated the Privacy Rule ofthe

Health Insurance Portability and Accountability Act of 1996 (HIPAA). Defendants released

Plaintiffs private health information to the general public, county health department, and a

national database of covrD carriers without her knowledge or consent. While HIPAA does not

grant a private right of action, and the penalties for violating HIPAA are adjudicated and

administered by the Department of Health and Human Services(HHS),the Act does establish an


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objective standard for private health information and provides a benchmark by which Courts can

judge when a person's medical privacy has been violated, as occurred here.

                                                 33.

        In addition to the violation of privacy, Defendants, by and through their employee(s) by

principles of vicarious liability cited hereinabove, violated Plaintiff's civil rights by refusing to

allow her to use the restroom in their store. While this refusal was purportedly based on

Defendants' false diagnosis that she had COVID-19,Plaintiff, as an African-American woman, is

a prime target for race and gender based discrimination and, based on information and belief,

evidence acquired through discovery will show that Defendants' actions, through their employees,

were taken with improper and illegal discriminatory motives.

                                      COUNT VII: DECEIT

                                                  34

       Plaintiff incorporates herein by reference each ofthe allegations contained in the preceding

paragraphs as fully as though set forth verbatim herein.

                                                 35.

       Finally, Defendants, by and through their employee(s) by principles of vicarious liability

cited hereinabove, violated 0.C.G.A. 51-6-2 by fraudulently or recklessly representing the fact

that Plaintiffhad COVED-19 as true when she did not actually have COVID-19. Defendants' intent

to deceive is indicated by their insistence that there was no possibility of a false positive result on

the test and that they pre-determined that she would receive a positive COVED-19 test result

BEFORE administering the test, as evidenced by the positive result at 9:00 a.m. when the

collection of the sample for the test was not performed until 9:14 a.m., 14 minutes AFTER the

positive result was recorded by the Nurse Practitioner in Plaintiff's chart.


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           WHEREFORE,Plaintiff respectfully prays that:

          a)     That Summons and Process issue as required by law and Defendants be served with
                 same;
          b)     That Plaintiff be awarded judgment against Defendants in an amount to be
                 determined at trial, but not less than $45,000.00, due to their intentional or negligent
                 infliction of emotional distress, slander, libel, deceit, public disclosure of private
                 facts, violation of civil rights, violation ofstate and federal law, and other breaches
                 of duty owed to Plaintiff as set forth in this Complaint;
          c)     That Plaintiff be awarded reasonable attorney fees pursuant to 0.C.G.A. § 19-6-2
                 and other applicable law;
          d)     That Plaintiff be awarded such other and further relief as this Court deems just and

                 equitable.

.   This 24th day of May,2021.
                                                                 Respectfully submitted,


                                                                /s/Matthew Michaud
                                                                 MATTHEW MICHAUD
                                                                 GEORGIA BAR No.504098
                                                                 ATTORNEY FOR PLAINTIFF
    CHAIN BREAKER LAW FIRM,P.C.
    P.O. Box 965062
    SANDY PLAINS ROAD
    MARIETTA, GEORGIA 30066
    470.309.1441
    mmichaud@chainbreakerlaw.com




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                                                                            Exhibit"A"




    COVID-19 Vaccination
             „L          Record Card                                                 f\k\
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                  Product
 Vaccine                  Name'Martufac tutor
                  Lot Number                          Date             Healthcare Profenional
                                                                       or Clinic Site
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               Reminder! Return fo
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•   1 1.10."
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                           Sun, Apr 25, 6:11 AM
                                                       Exhibit"B"

 Confirming COVID rapid test at 100
 PIEDMONT RD... on 04/26/21 at
 0900 AM. Conf. code YV5F2K8. To
 cancel i.cvs.comjcnf/poct/YV5F2K8
 Reply STOP to stop

                          Mon, Apr 26, 7:50 AM


 Your COVID-19 test is today at 100
 PIEDMONT RP,MARIETTA,G,4_3_0066,
 at 0900 AM.To cancel Lcvs.comi
 gifillcMYV5F2K8

 MinuteClinic: Prepare for your
 upcoming visit. Please review this
 video before you arrive hilm//bit.ly/
 2WG9hR9

                          Mon, Apr 26, 10:31 AM


 MinuteClinic: Your test result is
 ready. To view it; go to i.cvs:comi
 Jb9MpeG. This. link will expire in 5
 days
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a
                                                                                                                C- Log out



    LUMIRADX SARS-COV-2 AG TEST                                                                                Results
                                                                                                            Abnormal
    Status: Final   result (Collected: 4/26/2021 9:14 AM)

      Hello,
                                                                                        Exhibit"C"
      You have a POSITIVE Covid-19 Test Result.

      If you have a positive test result, it is very likely that you have COVID-19. Therefore, it is also likely that
      you may be placed in isolation to avoid spreading the virus to others. There is a very small chance that
      this test can give a positive result that is wrong (a false positive result). Some people who test positive for
      COVID-19 may be eligible to receive monoclonal antibody treatment. Patients who have a PCP should
      talk to their provider to screen for and order this treatment if indicated. Patients without a PCP can go to
      an urgent care center or ER for evaluation. For more information regarding this treatment and to see if it
      may be something you could qualify for, see this Patient Fact Sheet.



      enrrinnnent                 Value              Flan        Het kanne          Units          Status
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 Patient: LOIS MARSHALL, Sex: F                                                Peachtree Immediate Care
 Date of Service: 04/26/2021(Log# 2818175)    PEACHTREE                        2481 GEORGE BUSBEE PKWY NW
                                              EVIIVIEDIATECARE                 KENNESAW, GA 30144-4961
 Date of Birth                years)               Get in, Gel Go Mier.
 Patient ID:                                                                   770-423-0000 F: 770-423-0131


 In-House Lab Lab Report 1
 Report Status: In Process, Unspecified
 Collected: N/A
 Received: N/A
 Reported: 4/26/2021 1:32:00 PM
                                                                                         [Exhibit"D")
 Who Pays For Lab: Practice Bills


Additional Patient Information:
DOB:
Gender: F
Clinic Patient Number
Patient ID Number:
Additional Clinic I'M".
Clinic Account Number
Secondary Account Number: Not Available



Ordering Physician:,
MCELVEEN, CHARLES


Specimen Information t
Specimen:
PV Requisition Number:
Placer Order Number:


Current Test Result



Test Name                                               Xn Range          Out Of Range      Ref. Range        Lk
Coronavirus Antigen IA Rapid Test - Varied
  Coronavirus Antigen IA Rapid Test
    SARS-CoV-2 nuclelcapsId protein antigen             Negative



performina Laboratory Informationt
Performing Lab Information Not Available




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RB                                   IMMEDIATECARE
                                         Got In. Got out.Got beau.
                                                                         EMORY
                                                                          HEALTHCARE NETWORK



                               COVID Rapid Testing Discharge Instructions
  If you tested Positive for COVID-19:
       Schedule a follow-up visit via Telemedlcine for the next day or no later than 48 hours. If not done prior to
       leaving, visit peachtreemed.com/telemed to schedule your visit.
    • Go home and self-Isolate for 1.0 days following the onset of your symptoms. If you do not have any
       symptoms, you should isolate for 10 days following your positive test result. If you wish to discontinue
       Isolation before.10 days (for healthcare and essential workers only), you will need two negative tests at
       least 24 hrs apart to discontinue isolation. You should not go outside your home except for recommended
       testing per CDC guidance or required medical care. Do not go to work,school, or public areas and avoid using
       public transportation, ride-sharing (Uber/Lyft), or taxis. Cover your mouth and nose with a facemask.
    • Seek medical care if you develop any symptoms or any current symptoms worsen (e.g. If you develop
       difficulty breathing). Before getting care, call your closest Peachtree Immediate Care or your doctor's office
       and describe any symptoms you are experiencing. IlYou have a medical emergency, call 911.
                                                                -
  If you tested negative for COVID-19 but still have symptoms (e.g., fever, cough, and shortness of breath):
       Because a negative rapid test result cannot completely rule out COVID-19, the provider may choose to
       conduct a backup molecular PCR COVID test that will result in 3-5 days. This timeframe may change as
       demand increases. The provider may send out a confirmatory PCR test If you are exhibiting the symptoms
       most concerning and specific for COVID(as listed above), or if you have had direct exposure to an individual
       who tested positive for COVID-19 within the last 14 days. This decision is ultimately based on the provider's
       discretion. In the meantime, you should assume that you are positive for COVID and follow the Isolation
       guidelines above for positive patients. If your PCR test Is also negative, It is still possible that you are positive
       for. COVID, and therefore, should_ consider Isolating per CDC guidelines. You may also follow up at one of
       our urgent care clinics nearest you so that we can idle out-dger.CaUsei &f iTr symptorni(el., flu;strep, —
       bronchitis). Please check-in online at peachtreemed.Com. If you develop worsening symptoms,you should
       contact one of our clinics or your primary doctor, or If severe, proceed to the nearest ER for evaluation.

 If you tested negative for COVID-19 and have no symptoms:
    • You have tested negative for COVID and should continue to practice social distancing and wear a mask when
       out In public.
    • You do not need to quarantine unless you have had a direct, first-hand exposure (as defined by the CDC)
       to an individual who tested positive for COVID-19. If exposed, you should quarantine for 10 days and you
       can shorten this time to 7 days with a negative test.
    • If you think you may have had COVID and have not had symptoms in the last 10 days, you may come to one
       of our urgent care clinics and get antibody testing to determine if you had any exposure to the virus.
    • Continue to monitor for any symptoms. If you develop symptoms,consider re-testing for COVID.


  Patient Name:111111111111=                                 .COVID49 Result: Pos o                       PCR? Y / N

                     Drew McElveen FNP-C
  Provider Name:                                              Provider Signature:                            rA6P. c-

  Date: 011      /a(-0/070P,1                                  Test: Quidel Rapid Antigen Diagnostic Assay


                                                                                                           Updated 12/9/2020
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  zAh LABHOH  h ndocian Sagv.41e loporplerle ened.co Afubo




     https://www.labhoh.org
                                                                                              TESTING
                                                                                              DvA 3l1
    PATIENT REPORT
                                                                                         Exhibit"E-1'J

    Date: April 27 2021
    Name: MARSHALL LOIS
    Date of birth:
   Sample number:

     Test: COVID-19 PCR on nasopharynx/throat swab

   Sample taken on: April 27 2021 - 14:27:51
    Date result: April 27 2021 - 22:11:42 •
    Result: Negative

   To verify this document please scan the following OR Code:




  Andert Rosingh MD
  Clinical microbiologist




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      Covid
      Test Center                                                                                                  Exhibits
     .Aruba



 I.L. Laboratorio Familiar N.V.                         Patient:                  Lois Marshall
                                                        Address:
 De La Sallestraat 72
 Oranjestad                                                                       USA 30066
 Aruba                                                 Date of Birth:
                                                       Gender:                    Female
                                                       ID Number:

 Date:       30 April 2021

 Test No: W6duArPi                                              Sample Date: 30 April 2021 17:36

 Parameter                                                       Result

 COVID-19 Antigen Test Nasopharyngeal Swab                       NEGATIVE

 Remarks (if applicable): Negative defines that no Antigen of the Sars-CoV-2 virus (CoVid-19) has been
 detected. If you have come into contact with an infected person and you have symptoms, please
 contact your GP.

 Test No.         Status report: definitive
 Released:        R. STEINGROVER M.D. CLINICAL MICROBIOLOGIST
                  30 April 2021

 Hotel Name:      Hilton
 Room No.:        1617
 Flight Date:     05/02/2021
 Destination:     Atlanta




                                    HUISARTSENPRAKTUK FLICY VBA
                                    Doctor Ho Kang You
                                    Constantijn Huygensstraat 5-A
9Inther Pharma                      Oranjestad
                                    Aruba
                                    Phone: +297 566 4694
                                                                                           ONE HAPPY Et SAFE ISLZ=1.1111104
                                    KyK-Nummer H50073.0




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                                       Download the free app to scan and verify
             Case 1:21-cv-02561-MLB Document 1-1 Filed 06/24/21 Page 21 of 24


    5:03                                      •uII5GE(I                   Exhibits

< Recents




            +1(470)596-0373
             Maybe: Dominique Harrison


                                      tiq
 message        call       video      mail           pay




  April 29, 2021
  2:02 PM Incoming Call
          14 minutes



 Share Contact

 Create New Contact

  Add to Existing Contact


  Add to Emergency Contacts


 Share My Location


 Block this Caller




                                     • ••
*
Favorites
              0
              Recents
                          0
                          Contacts
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                                       ••
                                       ••
                                     Keypad
                                                   ••
                                                     61

                                                   Voicemail
Case 1:21-cv-02561-MLB Document 1-1 Filed 06/24/21 Page 22 of 24




   +1(470)596-0373
   Maybe: Dominique Harrison                       0:3 0
   April 28, 2021 at 12:01 PM
  •
  0:00                                                  —0:27




   Transcription Beta
   "Hi this is Emily calling from the cop County
    public health plan        I'm calling about an
    important matter when you get a chance
             please call me back at 470-596-0378
    again this is       calling from the cop in
    Douglas County public health department
    calling about an important matter when you
    get a chance can you please call me back at
    470-596-0373 I a.m. here is the 330 thank
    you..."
   Was this transcription useful or not useful?
Case 1:21-cv-02561-MLB Document 1-1 Filed 06/24/21 Page 23 of 24


                                                       Exhibit"G"


  After Visit
 Summary® Notes,




Patient Instructions
Nurse Althea B at 4/26/2021 9:00 AM

 Patient was reached and results were delivered.
         Positive Test results You were seen for COM-
 19 Testing and have tested positive. Follow up with your
 primary care provider for questions or any new
symptoms. According to the Centers for Disease Control
(CDC), you can stop self-isolating if you meet the below
criteria



  If you will not have a test to determine if you are still
 contagious, you can leave home after these three things
                      have happened:
             o You have had no fever for at least 24
                hours (that is 24 hours of no fever without
               the use medicine that reduces fevers)
               AND
             O other symptoms have improved (for
               example, when your cough or shortness
               of breath have improved)
                AND
             O at least 10 days have passed since your
               symptoms first appeared
                   Case 1:21-cv-02561-MLB Document 1-1 Filed 06/24/21 Page 24 of 24

S
                                                                                               EFILED IN OFFICE
                           General Civil and Domestic Relations Case Filing Information Form CLERK OF STATE COURT
                                                                                                               COBB COUNTY, GEORGIA
                              CI Superior or 0 State Court of          Cobb                      County           21-A-1846
                                                                                                               MAY 24, 2021 05:33 )M
            For Clerk Use Only

            Date Filed 05-24-2021                                  Case Number 21-A-1846                       Q ek6i4td ‘6)
                                                                                                                    Robin C.Bishop. Clerk   ate Court
                                                                                                                                 Cobb Count,. Georgia
                           M M-DD-YYYY

    Plaintiff(s)                                                      Defendant(s)
    Marshall, Lois                                                    CVS PHARMACY, INC.
    Last           First           Middle I.    Suffix    Prefix      Lint           First         Middle I.    Suffix      Prefix
                                                                      GEORGIA CVS PHARMACY, L.L.C, et. al.
    Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix
                                                                      GEORGIA CVS PHARMACY, LLC
    Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix


    Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix

    Plaintiff's Attorney Michaud, Matthew                              Bar Number 504098                Self-Represented 0

                               Check one case type and, if applicable, one sub-type in one box.

            General Civil Cases                                              Domestic Relations Cases
            0       Automobile Tort                                          O     Adoption
            El      Civil Appeal                                             O     Contempt
            O       Contract                                                       El Non-payment of child support,
            El      Contempt/Modification/Other                                    medical support, or alimony
                    Post-Judgment                                            El    Dissolution/Divorce/Separate
            El      Garnishment                                                    Maintenance/Alimony
                    General Tort                                             El    Family Violence Petition
            El      Habeas Corpus                                            El    Modification
            El      Injunction/Mandamus/Other Writ                                 0 Custody/Parenting Time/Visitation
            El      Landlord/Tenant                                          El    Paternity/Legitimation
            El      Medical Malpractice Tort                                 El    Support — IV-D
            El      Product Liability Tort                                   O     Support — Private(non-IV-D)
            CI      Real Property                                            CI    Other Domestic Relations
            El      Restraining Petition
            El      Other General Civil

    0       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
            of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                     Case Number                                    Case Number

    0       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
            redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.

    El      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                               Language(s) Required

    CI      Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                               Version 1.1.20
